

Matter of Carl S. v State of New York (2018 NY Slip Op 08883)





Matter of Carl S. v State of New York


2018 NY Slip Op 08883


Decided on December 21, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 21, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, CURRAN, AND WINSLOW, JJ.


1464 CA 17-00630

[*1]OF CARL S., CONSECUTIVE NO. 17979, FROM CENTRAL NEW YORK PSYCHIATRIC CENTER, PURSUANT TO MENTAL HYGIENE LAW SECTION 10.09, PETITIONER-APPELLANT,
vSTATE OF NEW YORK, NEW YORK STATE OFFICE OF MENTAL HEALTH AND NEW YORK STATE DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION, RESPONDENTS-RESPONDENTS. 






SARAH M. FALLON, DIRECTOR, MENTAL HYGIENE LEGAL SERVICE, UTICA (CAROLINE L. LEVITT OF COUNSEL), FOR PETITIONER-APPELLANT. 
BARBARA D. UNDERWOOD, ATTORNEY GENERAL, ALBANY (JONATHAN D. HITSOUS OF COUNSEL), FOR RESPONDENTS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Oneida County (Charles C. Merrell, J.), entered February 15, 2017 in a proceeding pursuant to Mental Hygiene Law article 10. The order, among other things, adjudged that petitioner is a sex offender requiring civil management and subject to strict and intensive supervision and treatment. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: December 21, 2018
Mark W. Bennett
Clerk of the Court








